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                              UNITED STATES DISTRICT COURT

                             WESTERN DISTRICT OF LOUISIANA

                                      LAFAYETTE DIVISION

  UNITED STATES OF AMERICA                             CRIMINAL CASE NO. 21-43-1

  VERSUS                                               JUDGE SUMMERHAYS

  CHANCE SENECA                                        MAGISTRATE JUDGE WHITEHURST

                                                ORDER

         UPON CONSIDERATION of the Defendant’s Unopposed Motion to Continue Trial;

         IT IS HEREBY ORDERED that the trial date of March 14, 2022 be continued. A new trial

  date will be set by further order of the Court.

         The Court finds failure to grant the requested continuance “would deny counsel for the

  defendant or the attorney for the Government the reasonable time necessary for effective

  preparation and possible resolution of this matter, taking into account the exercise of due

  diligence.” See 18 U.S.C. § 3161(h)(7)(B)(iv).

         Further, it is the finding of this Court, after an “ends of justice” analysis pursuant to the

  provisions of 18 U.S.C. § 3161(h)(7), that the ends of justice served by the granting of this

  continuance outweigh the best interests of the public and the defendant in a speedy trial.

         Lafayette, Louisiana this ______ day of ______________, 2022.



                                         _____________________________
                                         United States Magistrate Judge
